Case 15-11660-KG Doc507 Filed 06/23/16 Page 1 of 14

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
ZLOOP, INC., et al.,' Case No. 15-11660 (KIC)
Debtors. (Jointly Administered)

Re: D.I. Nos.: 432, 446, 464, 468, 471, 496, 499 and
504

 

ORDER (A) AUTHORIZING THE SALE OF CERTAIN PROPERTY
LOCATED IN HICKORY, NC FREE AND CLEAR OF LIENS, CLAIMS,
ENCUMBRANCES, AND OTHER INTERESTS; (B) REGISTERING
BACK-UP BIDDER AND BID AND (C) GRANTING RELATED RELIEF

This matter coming before the Court on the motion (the “Motion” of the above-
captioned debtors and debtors in possession (the “Debtors” or “Sellers”) for the entry of an
order pursuant to sections 105(a) and 363 of title 11 of the United States Code (the “Bankruptcy
Code”), Rules 2002, 6004, 9007 and 9014 of the Federal Rules of Bankruptcy Procedure (as
amended from time to time, the “Bankruptcy Rules”), and Rule 6004-1 of the Local Rules of
Bankruptcy Practice and Procedures of the Bankruptcy Court for the District of Delaware (the
“Local Rules”) (1)(A) approving procedures in connection with the sale of substantially all of the
Debtors’ assets located in Hickory, NC; (B) scheduling the related auction and hearing to
consider approval of sale; (C) approving the form and manner of notice thereof; (D) approving

the Bidder Protections; and (E) granting related relief; and (I])(A) authorizing the sale of such

assets pursuant to the successful bidder’s Purchase Agreement free and clear of liens, claims,

 

' The Debtors in these Chapter 11 Cases and the last four digits of each Debtors’ federal tax identification

numbers are: ZLOOP, Inc. (2960); ZLOOP Nevada, LLC (7516); and ZLOOP Knitting Mill, LLC (7098). The
location of the Debtors’ headquarters and the service address for each of the Debtors is 816 13th Street NE, Hickory,
NC 28601.

Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the

Purchase Agreement (as defined herein), unless the Sale is consummated with the Back Up Bidder, in which case

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Case 15-11660-KG Doc507_ Filed 06/23/16 Page 2 of 14

encumbrances, and other interests; (II) and granting related relief [D.I. 432]; the Court having
found that (i) the Court has jurisdiction to consider the Motion and the relief requested therein
pursuant to 28 U.S.C. §§ 157 and 1334; (ii) venue is proper in this district pursuant to 28 U.S.C.
§§ 1408 and 1409; (iii) this is a core proceeding pursuant to 28 U.S.C. § 157(b); and (iv) notice
of the Motion was sufficient under the circumstances; and the Court having reviewed (a) the
Notice of Result of Auction and Filing of June 13, 2016 Auction Transcript [D.I. 496], (b) the
Purchase and Sale Agreement submitted by Colt Refining, Inc. attached to such Notice as
Exhibit A thereto (as the same was amended at the Auction and as may be amended prior to or at
Closing, the “Purchase Agreement”), (c) the Transcript of the Auction attached to such Notice
as Exhibit C thereto, (d) the Declaration of William H. Henrich, CRO, in Support of the Sale of
the Hickory Assets [D.I. ], and (e) the Declaration of Harvey Gottlieb in Support of Sale of

Assets to Colt Refinfing, Inc. [D.I. ]; and there having been no objections filed to the sale of the

 

undefined terms shall be defined as set forth in the Dynamic Recycling, Inc.’s Purchase Agreement and any
amendments thereto.

3 The Hickory Assets include all of Seller’s right, title and interest in and to (a) the real property commonly

known as 816 13™ Street NE, comprising 3 parcels, and 838 14 Street NE, Hickory, NC, as more particularly
described on Exhibit A attached to Colt’s Purchase Agreement, and any and all improvements thereon and
appurtenances thereto (collectively, the “Real Property”); (b) the fixtures affixed thereto; (c) all personal property
and equipment located on or relating to the Real Property or Sellers’ trade or business conducted thereon as of the
Closing Date (defined in Colt’s Purchase Agreement), including without limitation, the assets described on Exhibit
D to Colt’s Purchase Agreement; and (d) all other property interests belonging or appurtenant to the Real Property,
including but not limited to all mineral, oil, gas, geothermal and water rights, as well as all environmental,
engineering, architectural and similar reports and studies in the possession of Seller; (e) to the extent designated by
Purchaser prior to Closing, books and records of the Seller (the Real Property, together with all of the foregoing
items in clauses (b) through (e) above, now or hereafter existing, collectively, the “Property” or “Hickory Assets”).
The following assets shall be excluded from the Transaction (defined in Colt’s Purchase Agreement): (a) cash; (b)
accounts receivable; (c) defenses, objections, counterclaims and rights of set-off and recoupment with respect to any
claim asserted against Seller; (d) claims and causes of action of the Sellers against third parties and insiders, whether
or not pending as of the Effective Date; (e) claims and causes of action of the Sellers arising under Chapter 5 of title
11 of the United States Code; (f) Seller’s books and records pertaining to Seller’s organization and governance and
all others not designated by Purchaser prior to Closing and (g) Seller’s books and records pertaining to or in support
of the excluded assets described in clauses (b) through (g), inclusive (collectively, the “Excluded Assets”).
Furthermore, the Excluded Assets comprise all of the Sellers’ interests in assets located in Fernley, NV. Finally, the
real property commonly known as 838 14™ Street NE, Hickory, NC (the “Knitting Mill Parcel”) may become an
Excluded Asset upon Purchaser’s failure to exercise the Option (defined in Colt’s Purchase Agreement) with respect
thereto.

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Case 15-11660-KG Doc507 Filed 06/23/16 Page 3 of 14

Hickory Assets; and after due deliberation the Court having determined that the relief relating to
the sale of the Hickory Assets requested in the Motion is in the best interests of the Debtors, their
estates and their creditors; and good and sufficient cause having been shown;

AND IT IS FURTHER FOUND AND DETERMINED THAT:

A. The Debtors’ notice of the Motion, Bidding Procedures, the Auction and the
hearing to approve any sale of the Hickory Assets (the “Sale Hearing”) was appropriate and
reasonably calculated to provide all interested parties with timely and proper notice, and no other
or further notice is required.

B. The findings and conclusions set forth herein constitute the Court’s findings of
fact and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to this
proceeding pursuant to Bankruptcy Rule 9014.

C. To the extent any of the findings of fact constitute conclusions of law, they are
adopted as such. To the extent any of the conclusions of law constitute findings of fact, they are
adopted as such.

D. This Order constitutes a final order within the meaning of 28 U.S.C. § 158(a).
Notwithstanding Bankruptcy Rule 6004(h), this Court finds that there is no just reason for delay
in the implementation of this Order, and directs entry of judgment as set forth herein.

E, The Hickory Assets constitute property of the Debtors’ estates and title thereto is

vested in the Debtors’ estates within the meaning of section 541(a) of the Bankruptcy Code.

 

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Case 15-11660-KG Doc507 Filed 06/23/16 Page 4of 14

F, The Debtors declared Colt Refining, Inc. (“Colt” or “Purchaser”) the Successful
Bidder (as defined in the Bidding Procedures Order) in a notice filed with this Court [D.I. 496]
(the "Notice of Successful Bidder”).*

G. Pursuant to the Bidding Procedures Order, Dynamic Recycling, Inc. is the Back
Up Bidder. In the event the Debtors consummate the Sale with Back Up Bidder, such entity (or
its designee) shall benefit in all respects from the findings of fact and conclusions of law related
to Purchaser under this Order.

H. William H. Henrich, CRO (“CRO”), in such capacity, is authorized to convey,
sell and assign good and marketable title to the Hickory Assets on behalf of the Sellers to Colt as
the Successful Bidder at the conclusion of the Auction.

I. The terms contained in the Purchase Agreement constitute the highest and best
offer for the Hickory Assets and will provide a greater recovery for Sellers' estates for the
Property than would be provided by any other available alternative. Sellers' determination that
the Purchase Agreement constitutes the highest and best offer for the Property, after consulting
with counsel for the Committee and Mr. Mosing, constitutes a valid and sound exercise of
Sellers' business judgment. The Purchase Agreement and the Sale contemplated thereby
represent a fair and reasonable offer to purchase the Property under the circumstances of the

chapter 11 cases. No other entity or group of entities has presented a higher or otherwise better

 

“ Through the Notice of Successful Bidder the Debtors declared that Dynamic Recycling, Inc. is the Back-Up Bidder
having submitted a Back-Up Bid in the net amount of $2,083,000.00. See Dynamic Recycling, Inc.’s Purchase
Agreement attached to the Motion as Exhibit B, Notice of Amendment thereto [D.I. 464] and Notice of Successful
Bidder and Dynamic Recycling, Inc.’s amendment to its Purchase Agreement attached thereto as Exhibit B. In the
event Colt fails to consummate the transactions contemplated by its Purchase Agreement, the Debtors are authorized
to consummate the sale of the Hickory Assets to Dynamic Recycling, Inc. without further order of this Court and all
references in this Order to Colt, Purchaser or Purchase Agreement shall be deemed to refer to Dynamic Recycling,
Inc. and its Back Up Bid including Dynamic Recycling, Inc.’s Purchase Agreement and any amendments thereto
under such circumstances. The Back Up Bid shall be open and irrevocable until the earlier of (i) the closing of the
transaction with Colt Refining or (ii) the date that is thirty (30) business days after the entry of this Order.

4

EAST\125382078.2
Case 15-11660-KG Doc507 Filed 06/23/16 Page 5of14

offer to Sellers to purchase the Property for greater economic value to Sellers' estates than
Purchaser.

J. Given all of the circumstances of the chapter 11 cases and the adequacy and fair
value of the consideration provided by Purchaser under the Purchase Agreement, the Sale
constitutes a reasonable and sound exercise of Sellers’ business judgment, is in the best interests
of Sellers and the other Debtors, their estates, their creditors, and other parties in interest, and
should be approved.

K. Purchaser did not engage in collusion, is purchasing the Property in good faith
and is a good-faith purchaser within the meaning of section 363(m) of the Bankruptcy Code.
Neither Purchaser nor any of its affiliates, officers, directors, members, partners, principals, or
shareholders (or equivalent) or any of their respective representatives, successors, or assigns is
an "insider" (as defined under section 101(31) of the Bankruptcy Code) of any Debtor.
Therefore, Purchaser, and its designees, successors and assigns, are entitled to the full
protections of section 363(m) of the Bankruptcy Code, and otherwise has proceeded in good
faith in all respects in connection with these chapter 11 cases in that: (1) Purchaser recognized
that the Debtors were free to deal with any other party interested in acquiring the Property; (2)
Purchaser complied with the provisions in the Bidding Procedures Order, including, without
limitation, funding its Deposit prior to the Bid Deadline and increasing its funded Deposit on or
before June 16, 2016 so that the sum of its funded Deposit equals 5% of the Purchase Price
($112,500.00); (3) Purchaser's bid was subject to the competitive bidding procedures set forth in
the Bidding Procedures Order; (4) all payments to be made by Purchaser and other agreements or
arrangements entered into by Purchaser in connection with the Sale have been disclosed; (5)

Purchaser has not violated section 363(n) of the Bankruptcy Code by any action or inaction; and

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Case 15-11660-KG Doc507 Filed 06/23/16 Page 6 of 14

(6) the negotiation and execution of the Purchase Agreement, including the Sale and Option

contemplated thereby, were at arms' length and in good faith. There was no evidence of insider

influence or improper conduct by Purchaser or any of its affiliates in connection with the

negotiation of the Purchase Agreement with the Debtors.

L. The Purchase Agreement does not commit Purchaser or its affiliates to offer

employment to any of the Debtors' senior executives. The Purchase Agreement and the Sale do

not contemplate the granting of any in personam release to any party.

M. The Purchase Agreement and the transactions contemplated thereby cannot be

avoided under section 363(n) of the Bankruptcy Code. Neither the Debtors and Purchaser, nor

section 363(n) of the Bankruptcy Code.

any of their affiliates, officers, directors, members, partners, principals, or shareholders (or
equivalent) or any of their respective representatives, successors, or assigns have engaged in any
conduct that would cause or permit the Purchase Agreement or the consummation of the

transactions contemplated thereby to be avoided, or costs or damages to be imposed, under

N. By consummating the Sale pursuant to the Purchase Agreement, Purchaser is not

a mere continuation of any Seller or any Debtor's estate, and there is no continuity of control, no

common identity, and no continuity of enterprise between Purchaser and any Debtor. Purchaser

is not holding itself out as a continuation of any Debtor. Purchaser is not a successor or

successor in interest to any Debtor or any Debtor's estate by reason of any theory of law or
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equity, and the Sale does not amount to a consolidation, merger, or de facto merger of Purchaser

and the Debtors. Neither Purchaser nor any of its affiliates and their respective successors,

assigns, members, partners, principals, and shareholders (or equivalent) shall assume or in any

way be responsible for any obligation or liability of any Debtor (or any affiliates thereof) and/or

EAST\125382078.2
Case 15-11660-KG Doc507 Filed 06/23/16 Page 7 of 14

any Debtor's estate, except with respect to liabilities and obligations respecting the ownership or
operation of the Hickory Assets incurred or accruing from and after the Closing.

O. The transfer of the Property to Purchaser will be, as of the Closing Date, a legal,
valid, and effective transfer of such assets, and vests or will vest Purchaser with all right, title,
and interest of Sellers to the Property fee and clear of all Interests or Claims (as defined below)
accruing, arising or relating thereto any time prior to the Closing Date.

P. Sellers may sell the Property free and clear of all Interests or Claims against any
Seller, its estate, or any of the Property because, in each case, one or more of the standards set
forth in section 363(f)(1)-(5) of the Bankruptcy Code has been satisfied. If the Sale were not free
and clear of all Interests or Claims, or if Purchaser would, or in the future could, be liable for any
of the Interests or Claims, Purchaser would not have entered into the Purchase Agreement and
would not consummate the Sale, thus adversely affecting the Debtors and their estates and
creditors. For the avoidance of doubt, the Debtors shall be deemed to have rejected all Interests,
including any possessory interests, effective as of the Closing. The total consideration to be
provided under the Purchase Agreement reflects Purchaser's reliance on this Order to provide it,
pursuant to sections 105(a) and 363(f) of the Bankruptcy Code, with title to and possession of the
Property free and clear of all Interests or Claims.

IT IS HEREBY ORDERED THAT:

1. As set forth below, the Motion is GRANTED.

2. All objections and responses to the Motion that have not been overruled,
withdrawn, waived, settled or resolved, and all reservations of rights included therein, are hereby

overruled and denied.

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Case 15-11660-KG Doc507 Filed 06/23/16 Page 8 of 14

3. Colt Refining, Inc.’s offer for the Property, as embodied in the Agreement of
Purchase and Sale dated June 10, 2016 by and among the Debtors and Colt Refining, Inc. as
amended by the Purchaser’s final Auction Bid Submission dated June 13, 2016 (collectively, the
"Purchase Agreement"), is the highest and best offer for the Property and is hereby approved.

4. The Purchase Agreement annexed hereto as Exhibit 1 is hereby approved
pursuant to section 363(b) of the Bankruptcy Code and the CRO, on behalf of the Debtors and
their estates, is authorized, without further order of this Court, to consummate and perform all of
the Sellers’ obligations under the Purchase Agreement and to execute such other documents and
take such other actions as are necessary or appropriate to effectuate the Purchase Agreement.

5. Pursuant to sections 105(a) and 363(f) of the Bankruptcy Code, the Property shall
be sold and transferred to Purchaser free and clear of all liens, claims, interests, encumbrances,
judgments, demands, rights of first refusal, offsets, contracts, recoupment, rights of recovery,
claims for reimbursement, contribution, indemnity, exoneration, products liability, alter-ego,
environmental, or tax, decrees of any court or foreign or domestic governmental entity, or
charges of any kind or nature, if any, debts arising in any way in connection with any
agreements, acts, or failures to act, including any pension liabilities, retiree medical benefit
liabilities, liabilities related to the Employee Retirement Income Security Act of 1974, liabilities
related to the Internal Revenue Code, or any other liability relating to Debtors’ current and
former employees, including any withdrawal liabilities (under any multiemployer pension plans
or otherwise) or liabilities under any collective bargaining agreement or labor practice
agreement, of the Debtors or any of the Debtors' predecessors or affiliates, claims, whether
known or unknown, choate or inchoate, filed or unfiled, scheduled or unscheduled, noticed or

unnoticed, recorded or unrecorded, perfected or unperfected, allowed or disallowed, contingent

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Case 15-11660-KG Doc507 Filed 06/23/16 Page 9 of 14

or non-contingent, liquidated or unliquidated, matured or unmatured, material or non- material,
disputed or undisputed, whether arising prior to or subsequent to the commencement of these
chapter 11 cases, and whether imposed by agreement, understanding, law, equity or otherwise,
including claims otherwise arising under doctrines of successor liability (collectively, “Interests
or Claims”) except as otherwise provided in the Purchase Agreement, with any and all such
Interests or Claims to attach to proceeds of such sale with the same validity, priority, force and
effect such Interests or Claims had on the Property immediately prior to the Sale and subject to
the rights, claims, defenses, and objections, if any, of the Debtors with respect to any such
asserted Interests or Claims.

6. Pursuant to sections 105(a) and 363(b) of the Bankruptcy Code, the Sale by the
Debtors to Colt Refining, Inc., of the Property and transactions related thereto, upon the Closing
under the Purchase Agreement, are authorized and approved in all respects.

7. At the Closing of the Sale under the Purchase Agreement, in addition to any
prorations, fees, costs, or other amounts that are Debtors responsibility at closing under the
Purchase Agreement, the Debtors shall pay the following amounts from the Sale proceeds: (i) the
allowed claim of Lake Electric Company, Inc.; (ii) unpaid 2015 real property ad valorem taxes
with respect to the Property; (iii) unpaid taxes for tax years 2013 through 2016 with respect to
the Debtors’ personal property, which, if unpaid, would give rise to a lien on the Property; and to
Back Up Bidder its Break-Up Fee and Expense Reimbursement.

8. Nothing contained in any chapter 11 plan confirmed in this case or any order
confirming any chapter 11 plan, nor any order dismissing any case or converting it to chapter 7
shall conflict with or derogate from the provisions of the Purchase Agreement, any documents or

instrument executed in connection therewith, or the terms of this Order.

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Case 15-11660-KG Doc507 Filed 06/23/16 Page 10 of 14

9. The stay provided for in Bankruptcy Rule 6004(h) is hereby waived and this
Order shall be effective immediately upon its entry.

10. The terms of this Order shall be binding on Colt Refining, Inc. and its designees,
successors and assigns, the Debtors, creditors of the Debtors and all other parties in interest in
the Bankruptcy Cases, and any successors of the Debtors, including any trustee or examiner
appointed in these cases or upon a conversion of this case to chapter 7 of the Bankruptcy Code.

11. | With respect to the transactions consummated pursuant to this Order, this Order
shall be the sole and sufficient evidence of the transfer of title to Purchaser, and the Sale
Transaction consummated pursuant to this Order shall be binding upon and shall govern the acts
of all persons and entities who may be required by operation of law, the duties of their office, or
contract, to accept, file, register or otherwise record or release any documents or instruments, or
who may be required to report or insure any title or state of title in or to any of the property sold
pursuant to this Order, including without limitation, all filing agents, filing officers, title agents,
title companies, recorders of mortgages, recorders of deeds, administrative agencies,
governmental departments, secretaries of state, and federal, state, and local officials, and each of
such persons and entities is hereby directed to accept this Order as sole and sufficient evidence of
such transfer of title and shall rely upon this Order in consummating the transactions
contemplated hereby. Notwithstanding the foregoing, the provisions of Section 1146(a) shall not
apply.

12. All entities that are presently, or on the Closing may be, in possession of some or
all of the Property to be sold, transferred, or conveyed (wherever located) to Purchaser pursuant
to the Purchase Agreement are hereby directed to surrender possession of the Property to

Purchaser on the Closing Date.

10

EAST\125382078.2
Case 15-11660-KG Doc507_ Filed 06/23/16 Page 11 of 14

13. | Upon consummation of the Sale set forth in the Purchase Agreement, if any
person or entity that has filed financing statements, mortgages, mechanic's liens, lis pendens, or
other documents or agreements evidencing Interests or Claims against or in the Property shall not
have delivered to the Debtors prior to the Closing Date, in proper form for filing and executed by
the appropriate parties, termination statements, instruments of satisfactions, releases of all
Interests or Claims that the person or entity has with respect to the Property, or otherwise, then
(a) the Debtors are hereby authorized to execute and file such statements, instruments, releases
and other documents on behalf of the person or entity with respect to the Property and (b)
Purchaser is hereby authorized to file, register, or otherwise record a certified copy of this Order,
which, once filed, registered or otherwise recorded, shall constitute conclusive evidence of the
release of all Interests or Claims in the Property of any kind or nature (except as otherwise
assumed under, or permitted by, the Purchase Agreement); provided, that, notwithstanding
anything in this Order or the Purchase Agreement to the contrary, the provisions of this Order
shall be self-executing, and neither the Debtors nor Purchaser shall be required to execute or file
releases, termination statements, assignments, consents, or other instruments in order to
effectuate, consummate, and implement the provisions of this Order. For the avoidance of doubt,
upon consummation of the Sale as set forth in the Purchase Agreement, Purchaser is authorized
to file termination statements, lien terminations, or other amendments in any jurisdiction to
remove and record, notice filings or financing statements recorded to attach, perfect, or otherwise
notice any lien or encumbrance that is extinguished or otherwise released pursuant to this Order
under section 363 and the related provisions of the Bankruptcy Code.

14. Purchaser and its affiliates and their respective successors, assigns, members,

partners, principals and shareholders (or equivalent) are not and shall not be (a) deemed a

11

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Case 15-11660-KG Doc507_ Filed 06/23/16 Page 12 of 14

"successor" in any respect to the Debtors or their estates as a result of the consummation of the
transactions contemplated by the Purchase Agreement or any other event occurring in the
Debtors' chapter 11 cases under any theory of law or equity, (b) deemed to have, de facto or
otherwise, merged or consolidated with or into the Debtors or their estates, (c) deemed to have a
common identity with the Debtors, (d) deemed to have a continuity of enterprise with the
Debtors, or (e) deemed to be a continuation or substantial continuation of the Debtors or any
enterprise of the Debtors. The transfer of the Property to Purchaser under the Purchase
Agreement shall not result in (i) Purchaser and its affiliates and their respective successors,
assigns, members, partners, principals and shareholders (or equivalent), or the Property, having
any liability or responsibility for any claim against the Debtors or against an insider of the
Debtors, (ii) Purchaser and its affiliates and their respective successors, assigns, members,
partners, principals and shareholders (or equivalent), or the Property, having any liability
whatsoever with respect to or be required to satisfy in any manner, whether at law or in equity,
whether by payment, setoff or otherwise, directly or indirectly, any Interests or Claims or (iii)
Purchaser and its affiliates and their respective successors, assigns, members, partners, principals
and shareholders (or equivalent), or the Property, having any liability or responsibility to the -
Debtors except as is expressly set forth in the Purchase Agreement.

15. Following the Closing, no holder of an Interest or Claim in or against the Debtors
or the Property at or before the Closing shall interfere with Purchaser's title to or use and
enjoyment of the Property based on or related to such Interest or Claim or any actions that the
Debtors may take in these chapter 11 cases or any successor cases.

16. The Debtors’ CRO is hereby authorized to execute such documents and do such

acts as are necessary or desirable to carry out the transactions contemplated by the terms and

12

EAST\125382078.2
 

Case 15-11660-KG Doc507 Filed 06/23/16 Page 13 of 14

conditions of the Purchase Agreement and this Order. The Debtors shall be, and they hereby are,
authorized to take all such actions as may be necessary to effectuate the terms of this Order and
the relief granted pursuant to this Order.

17. The Sale contemplated by the Purchase Agreement is undertaken by Purchaser
without collusion and in good faith, as that term is defined in section 363(m) of the Bankruptcy
Code, and accordingly, the reversal or modification on appeal of the authorization provided
herein to consummate the Sale shall not affect the validity of the Sale (including the sale free and
clear of all Interests or Claims), unless such authorization and consummation of such Sale are
duly stayed pending such appeal. Purchaser is a good-faith purchaser within the meaning of
section 363(m) of the Bankruptcy Code and, as such, is entitled to the full protections of section
363(m) of the Bankruptcy Code. As a good-faith purchaser of the Property, Purchaser has not
colluded with any of the other bidders, potential bidders, or any other parties interested in the
Property, and therefore neither the Debtors nor any successor in interest to the Debtors’ estates
nor any other party in interest shall be entitled to bring an action against Purchaser or any if its
affiliates, and the sale of the Property may not be avoided pursuant to section 363(n) of the
Bankruptcy Code.

18. Purchaser is authorized to exercise the Option, and Sellers are authorized to
convey free and clear of all Interests or Claims, respecting the Knitting Mill Parcel in accordance
with the terms and conditions of the Purchase Agreement without further order of this Court. In
the event such Option is not exercised by Purchaser (including if applicable the Back Up
Bidder), Purchaser shall have no further obligations with respect to such parcel.

19. From time to time, as and when requested by any party, each party to the

Purchase Agreement shall execute and deliver, or cause to be executed and delivered, all such

13

EAST\125382078.2
 

Case 15-11660-KG Doc507 Filed 06/23/16 Page 14 of 14

documents and instruments and shall take, or cause to be taken, all such further or other actions
as such other party may reasonably deem necessary or desirable to consummate the Sale,
including such actions as may be necessary to vest, perfect or confirm, of record or otherwise, in
Purchaser its right, title and interest in and to the Property; provided, however, the Debtors shall
not be obligated to incur any obligation, liability or expenses in furtherance thereof.

20. This Court retains jurisdiction to interpret, implement and enforce the provisions
of, and resolve any disputes arising under or related to, this Order and Colt’s Purchase
Agreement, all amendments thereto, any waivers and consents thereunder and each of the
agreements executed in connection therewith.

21. The failure specifically to include any particular provisions of the Purchase
Agreement or any of the documents, agreements or instruments executed in connection therewith
in this Order shall not diminish or impair the force of such provision, document, agreement or
instrument, it being the intent of the Court that the Purchase Agreement and each document,
agreement or instrument be authorized and approved in its entirety.

22. The Purchase Agreement and any related agreements, documents or other
instruments may be modified, amended or supplemented by the parties thereto in accordance
with the terms thereof without further order of the Court, provided that any such modification,

amendment or supplement does not have a material advers ct on the Debtors’ estates.

Dated: as rt _7-» , 2016
Wilmington, Delaware Kevin J. us

United {States B Lights Judge

 

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